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MINUTES ()F THE UNITED STATES DISTRICT COURT FOR THE DISTRICT ()F UTAH

JUDGE: Honora`ble David Sam COURT REPORTER: None
COURTROOM DEPUTY: Kim Forsgren
INTERPRETER: N/A

DATE: July 16, 2018

CASE NO. 2:17-cv-0086()- DS
Oviov USA V. SOMEAH, et al,

Approved By: LH '7¢‘1»£!/?

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APPEARANCE OF COUNSEL
Pla Cameron M. Nelson, Esq., Scott M. Petersen, Esq.
th Adam C. Buck, Esq., Jascha K. Clark, Esq., Chad R. Derum, Esq., lack T. Nelson, Esq., Fredericl<; R.

Thaler, Esq.

MATTER SET: Status Report and Scheduling Conf.

 

DOCKET ENTRY: In chambers conference Parties represented by counsel. Counsel report on Status of settlement
and discuss outstanding motions. Plaintiff’s Motionl for Leave to Amend Complaint and Add Parties (ECF No. 59) is
denied. Plaintiff’s Motion for Enforcement of Sett]ement Agreement (ECF No. 58) is taken under advisement
Defendant Someah’s Cros`s Motion to Enforce Settlement Agreement (ECF No. 87) is granted and Court Will address
issue of What information is confidential for purposes of the Settlement Agreement in due course, if necessary..

Discovery to proceed under WTR Defendants’ Proposed Schedule, subject to adjustment of time frames. Counsel for
Defendants to prepare proposed order.

 

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